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Attachment 1


                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
               COURT CASE NUMBER: 5:21-CR-9-9; NOTICE OF FORFEITURE

       Notice is hereby given that on October 26, 2023, in the case of U.S. v. Patricio et.
al. (Charles Michael King), Court Case Number 5:21-CR-9-9, the United States District
Court for the Southern District of Georgia entered an Order condemning and forfeiting the
following property to the United States of America:

       United Community Bank Official Check #6364844 Acct# ******9351
       (22-DSS-000049) which was seized from Charles M King on November 17, 2021 at
       4426 Telmor E Dixie Union RD, located in Waycross, GA

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (October 31, 2023) of this
Notice on this official government internet web site, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition must be
filed with the Clerk of the Court, 601 Tebeau Street, Waycross, GA 31501, and a copy
served upon Assistant United States Attorney Tania D. Groover, P.O. Box 8970,
Savannah, GA 31412. The ancillary petition shall be signed by the petitioner under
penalty of perjury and shall set forth the nature and extent of the petitioner's right, title or
interest in the forfeited property, the time and circumstances of the petitioner's acquisition
of the right, title and interest in the forfeited property and any additional facts supporting
the petitioner's claim and the relief sought, pursuant to 21 U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

        The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
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the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Tania D. Groover, P.O. Box 8970, Savannah, GA 31412. This website provides
answers to frequently asked questions (FAQs) about filing a petition for remission. You
may file both an ancillary petition with the court and a petition for remission or mitigation.
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                                  Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between October 31, 2023 and November 29, 2023. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system’s daily
check that verifies that the advertisement was available each day.

U.S. v. Patricio et. al. (Charles Michael King)

Court Case No:               5:21-CR-9-9
For Asset ID(s):             See Attached Advertisement Copy

   Consecutive          Date Advertisement            Total Hours Web Site          Verification that
   Calendar Day          Appeared on the              was Available during           Advertisement
       Count                 Web Site                     Calendar Day             existed on Web Site
         1                   10/31/2023                      24.0                          Verified
         2                   11/01/2023                      23.9                          Verified
         3                   11/02/2023                      23.9                          Verified
         4                   11/03/2023                      23.9                          Verified
         5                   11/04/2023                      23.9                          Verified
         6                   11/05/2023                      24.0                          Verified
         7                   11/06/2023                      23.8                          Verified
         8                   11/07/2023                      23.9                          Verified
         9                   11/08/2023                      23.9                          Verified
        10                   11/09/2023                      23.9                          Verified
        11                   11/10/2023                      23.9                          Verified
        12                   11/11/2023                      23.9                          Verified
        13                   11/12/2023                      24.0                          Verified
        14                   11/13/2023                      23.9                          Verified
        15                   11/14/2023                      24.0                          Verified
        16                   11/15/2023                      23.9                          Verified
        17                   11/16/2023                      23.9                          Verified
        18                   11/17/2023                      23.9                          Verified
        19                   11/18/2023                      23.9                          Verified
        20                   11/19/2023                      23.9                          Verified
        21                   11/20/2023                      23.9                          Verified
        22                   11/21/2023                      23.9                          Verified
        23                   11/22/2023                      24.0                          Verified
        24                   11/23/2023                      24.0                          Verified
        25                   11/24/2023                      23.9                          Verified
        26                   11/25/2023                      23.9                          Verified
        27                   11/26/2023                      24.0                          Verified
        28                   11/27/2023                      23.9                          Verified
        29                   11/28/2023                      23.9                          Verified
        30                   11/29/2023                      23.9                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
